       Case 3:18-cv-00772-SDD-EWD            Document 264       03/19/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA

 STEPHEN M. GRUVER, ET AL.                                               CIVIL ACTION
 v.
 STATE OF LOUISIANA THROUGH THE                            NO. 3:18-cv-00772-SDD-EWD
 BOARD OF SUPERVISORS OF LOUISIANA
 STATE UNIVERSITY AND AGRICULTURAL
 AND MECHANICAL COLLEGE, ET AL.

                                           ORDER

       Considering the Joint Motion to Voluntarily Dismiss Claims against Sean Pennison with

Prejudice filed jointly by Plaintiffs Stephen M. Gruver and Rae Ann Gruver, individually and on

behalf of Maxwell R. Gruver, deceased, and Defendant Sean Pennison;

       IT IS HEREBY ORDERED that the Joint Motion is GRANTED, and Plaintiffs’ claims

against Defendant Pennison in the above-captioned matter are dismissed, with prejudice, and with

each party to bear its own costs; and

       IT IS FURTHER ORDERED that this Order applies only to Plaintiffs’ claims against

Sean Pennison. Plaintiffs’ claims remain active and pending against all other Defendants with

whom Plaintiffs have not settled.

       Baton Rouge, Louisiana this _________
                                     19th    day of __________________________,
                                                         March                  2021.



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                       _________________________________________
                             CHIEF JUDGE SHELLY D. DICK
                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA
